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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

WALTER C. SAENZ and WCS LEASING,                  §
L.L.C., d/b/a MARS RECOVERY,                      §
                                                  §
        Plaintiffs,                               §
                                                  §                CASE NO. 4:21-cv-00661
v.                                                §
                                                  §
U.S. BANK, N.A.,                                  §
                                                  §
        Defendant.                                §


          PLAINTIFFS WALTER C. SAENZ AND WCS LEASING, L.L.C.
             D/ B/ A MARS RECOVERY’S R ESPONSE TO U.S. B ANK’S
                       MOTION FOR SUMMARY JUDGMENT


     Pursuant to Fed. R. Civ. 56(c), Plaintiffs WALTER C. SAENZ and WCS LEASING, L.L.C.

d/b/a MARS RECOVERY file this response to Defendant U.S. BANK’s Motion for Summary

Judgment, and in support of same, would respectfully show the Court as follows:


                  I. FACTUALLY AND PROCEDURALLY, U.S. BANK’S MOTION FAILS

(A) The facts presented in this matter are more complex than Defendant contends.

     Defendant U.S. BANK has suggested in its Motion for Summary Judgment that the

requirements under Texas law for the sale of abandoned vehicles are simple, objective and

straightforward, requiring this Court to simply review the documents and grant Defendant’s motion.

In fact, the questions raised by Plaintiff WCS LEASING, L.L.C. d/b/a MARS RECOVERY and

WALTER SAENZ (hereinafter collectively “MARS RECOVERY”) in this matter should set off

alarms in the Court’s mind regarding all of the steps taken by Plaintiffs to apprise Defendant U.S.

BANK (a) that the vehicle abandoned by their customer was in the possession of MARS
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RECOVERY, b) that storage charges were accruing for MARS RECOVERY in towing and holding

the subject vehicle, and c) that the procedures for picking up the vehicle, including payment for

towing and storage of the vehicle, were simple, systematic and could be effectuated by Defendant

with minimal efforts. These facts, and the events set out in Plaintiff’s initial complaint, and in its

other filings, while echoed in U.S. BANK’s motion, depict a history of events wherein MARS

RECOVERY took multiple steps and turns, including not only written notifications, but repeated

telephonic communications with multiple representatives of Defendant to apprise U.S. BANK step-

by-step what needed to be done to end this matter in U.S. BANK’s favor.

    Instead of redeeming their vehicle, Defendant effectively ignored the efforts made by MARS

RECOVERY to notify U.S. BANK, and only much later, after receiving all of the required notices,

including final notice that the vehicle had been sold at auction, did U.S. BANK complain that the

myriad of documents sent to U.S. BANK by MARS RECOVERY were technically deficient,

because the notices lacked some of the specific, statutory requirements that would allow U.S. BANK

to negate all of the extensive efforts made by MARS RECOVERY and Mr. SAENZ to facilitate U.S.

BANK’s recovery of the subject vehicle.

(B) Defendant’s mistaken contentions that Plaintiffs have failed to state a claim and raise no

    causes of action against Defendant.

    U.S. BANK contends further that Plaintiffs fail to allege a cause of action against U.S. BANK,

and therefore Plaintiff is not entitled to its request for Declaratory Judgment under the Federal

Declaratory Judgment Act, 28 U.S.C. § 2201. It is well established, however, that “[c]ourts must

consider the complaint in its entirety, as well as other sources courts ordinarily examine when ruling

on . . . motions to dismiss[.]” Dunn v. Castro, 621 F.3d 1196, 1205 n.6 (quoting Tellabs, Inc. v. Makor

Issues & Rights, Ltd., 551 U.S. 308, 322 (2007)). Similarly, consideration of the Complaint as a whole

demonstrates that it meets the requirements established under the Federal Rules. “[A] complaint

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must contain sufficient factual matter . . . to ‘state a claim for relief that is plausible on its face.’”

Ashcroft v. Iqbal, 129 S.Ct. 1937, 1949 (2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570

(2007)).

    Plaintiffs/Counter-Defendants’ Amended complaint, read in concert with its Answer to U.S.

BANK’s counterclaim, wherein MARS RECOVERY assert their affirmative defenses of laches,

equitable estoppel and judicial estoppel, raise important issues concerning the legal claims and

defenses plead by Plaintiff in this matter. Equally important, U.S. BANK raise factually incorrect

claims, like their contention the R.V. was in fact never abandoned, when in fact U.S. BANK’s

customer, Mr. Krajicek, unilaterally decided to abandon the vehicle and his payment obligations to

U.S. BANK, leaving the vehicle at a local RV dealership blocking ingress and egress into the

driveway of the dealership. Instead, Defendant attempts to argue that if Plaintiff failed to comply

with the technical notice requirements of the Texas Department of Licensing and Regulation, then

the vehicle was not abandoned under these requirements, thereby invalidating any notice sent by

MARS RECOVERY to U.S. BANK and negating any argument the vehicle was abandoned.

Defendant’s efforts in this regard serve only to obfuscate and confuse the issues presented to this

Court.

(C) Plaintiff is entitled to its Declaratory Judgment action under the law.

    In pages 7-8 of its Motion for Summary Judgment, U.S. BANK contends that MARS

RECOVERY’s request under the FEDERAL DECLARATORY JUDGMENT ACT, 28 U.S.C. § 2201 “fails

as a matter of law.” U.S. BANK then cites legal authority to support its own request for declaratory

judgment, urging “[t]he Act ‘gives federal courts the competence to declare rights, but does not

impose a duty to do so;’ it is ‘an authorization, not a command.’” Public Affairs Assocs., Inc. v. Rickover,

369 U.S. 111, 112 (1962). Clearly however, with U.S. BANK’s claims that Plaintiff/Counter-

Defendants converted the recreational vehicle (“R.V.”) in question, and has committed fraud to

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deprive U.S. BANK of its rightful property, there are claims by and between these parties which

require the Court to adjudicate and rule on such claims.

    U.S. BANK’s counterclaims against MARS RECOVERY and WALTER SAENZ for

fraud/misrepresentation, conversion, unjust enrichment, slander of title, theft, breach of contract

and violations of the Texas Vehicle Storage Act, are all affirmative claims for which MARS

RECOVERY and WALTER SAENZ are compelled to defend themselves. See Original Counterclaim of

U.S. Bank. U.S. BANK also ironically includes its own request for declaratory judgment under the

28 U.S.C. § 2201, while simultaneously claiming MARS RECOVERY and Mr. SAENZ are not entitled

to such a claim.

    Federal case law requires that a party’s legal interest must relate to an actual “claim arising under

federal law that another asserts against him....” Lowe v. Ingalls Shipbuilding, A Division of Litton, 723

F.2d 1173, 1179 (5th Cir. 1984). Since it is the underlying causes of action of the defendant against

the plaintiff that is actually litigated in a declaratory judgment action, a party bringing a declaratory

judgment action must have been a proper party had the defendant brought suit on the underlying

cause of action, like U.S. BANK has done in the instant case. The Declaratory Judgment Act is

designed to afford parties, threatened with liability, but otherwise without a satisfactory remedy, an

early adjudication of an actual controversy. McDougald v. Jenson, 786 F.2d 1465, 1481 (11th Cir. 1986).

The Act provides an expedient means of declaring the rights and obligations of litigants. Id. In the

instant case, there are ample claims being leveled against MARS RECOVERY and WALTER

SAENZ to justify the Court’s review and adjudication of the respective rights of the parties under

the Declaratory Judgment act.

    The Declaratory Judgment Act allows federal courts to “declare the rights and other legal

relations of any interested party seeking such declaration, whether or not further relief is or could be

sought.” 28 U.S.C. § 2201. This language indicates that a party who has an interest in the outcome of

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future litigation can petition the court for a declaration of its rights and liabilities. The courts have

long held that only parties with legal interests threatened in an actual controversy have standing to

sue under the Declaratory Judgment Act. Wolfer v. Thaler, 525 F.2d 977, 979 (5th Cir.), cert. denied,

425 U.S. 975, 96 S. Ct. 2176, 48 L. Ed. 2d 800 (1976). “[T]here must be a substantial controversy ...

between parties having adverse legal interests.” Middle South Energy, Inc. v. City of New Orleans, 800

F.2d 488, 490 (5th Cir. 1986). Clearly the counterclaims brought by U.S. BANK against MARS

RECOVERY and WALTER SAENZ gave rise to a reasonable apprehension of litigation, which

would allow them to seek a declaratory judgment under the federal Declaratory Judgment Act. Collin

County, Texas, et al., Plaintiffs-appellees, v. Homeowners Association for Values Essential To Neighborhoods,

(haven), Defendant-appellant, v. Robert E. Farris, As Federal Highway Administrator, et al., defendants-appellees,

915 F.2d 167 (5th Cir. 1990).

    For the same foregoing reasons, U.S. BANK’s claims that MARS RECOVERY lacks standing to

assert any claims relating to the R.V., (See page 18 of U.S. BANK’s Motion for Summary Judgment), rings

hollow, since the claims brought by U.S. BANK against MARS RECOVERY and WALTER

SAENZ necessarily invoke potential liability for actions which this honorable Court is empowered

to adjudicate.

(D)Plaintiff/Counter-Defendant substantially complied with all of the statutory

requirements of the Texas Vehicle Storage Facility Act.

    The basic facts concerning the notices sent by MARS RECOVERY to U.S. BANK show

substantial compliance with the requirements of Texas vehicle storage law. “Substantial compliance”

has been defined to mean performance of the essential requirements of a statute. Harris County

Appraisal Dist. v. Krupp Realty Ltd. Partnership, 787 S.W.2d 513, 515 (Tex.App.—Houston [1st Dist.]

1990, no writ).



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    The initial notice by MARS RECOVERY was sent to U.S. BANK on October 20 or October

21, 2020 (the discrepancy between the dates reflects the date notice was dispatched versus date

notice was postmarked). Under either date, Section 2303.151(b) allows initial notice for a vehicle

registered out of state to be mailed within fourteen (14) days, so MARS RECOVERY’s dispatch of

its initial notice on October 20/21, 2020, after receiving the vehicle on October 16, 2020 would

have been timely under the law. Moreover, the initial notice reflects date of impound as October 20,

2020, though U.S. BANK contends the notice does not contain the date MARS RECOVERY

accepted the vehicle for storage. See page 8-9, Section B(2)(i) of U.S. BANK’s April 5, 2021 Motion to

Dismiss. U.S. BANK argues that because the notice lacked MARS RECOVERY’s Texas Department

of Licensing and Regulation Vehicle Storage Facility number, the notice was ineffective and non-

existent. In fact, the notice sent by MARS RECOVERY does in fact reflect its TDLR number, along

with its contact information (address and telephone number) for MARS RECOVERY, prominently

printed in the upper left corner of the notice.

    Section 2303.151(f)(3) provides that “If the operator of a vehicle storage facility sends a notice

required under this section after the time prescribed by Subsection (a) or (b) . . . (3) the ability of the

operator to seek foreclosure of a lien for storage charges on the vehicle that is the subject of the

notice is not affected.” This would suggest that substantial compliance by a storage facility in

sending its notices to owners and/or lienholders would in fact be sufficient to provide actual notice to

such lienholders, such that the owner and/or lienholder would have sufficient information with

which to act to recover the vehicle in question.

    Notice to the Montgomery County Sheriff’s Department that the vehicle in question was

“abandoned” was sent by MARS RECOVERY on October 29, 2020, which was arguably the

thirteenth day after the vehicle had been towed by MARS RECOVERY on October 16, 2020, and

nine days after the date the vehicle was impounded (on October 20, 2020). This Court can

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determine if this notice meets the strict requirement of Section 2303.154(a), et seq. of the TEXAS

OCCUPATIONS CODE. Again, MARS RECOVERY contends that it “substantially complied” with

the requirements of the relevant statute, and if in fact the intent of the statute is to apprise owners,

lienholders and law enforcement where the vehicle is being stored and held, to facilitate the recovery

of the vehicle, then clearly MARS RECOVERY has discharged its duty to all involved.

    The same substantial compliance by MARS RECOVERY is evidenced by the second notice sent

by MARS RECOVERY to the owner and lienholder, U.S. BANK, dispatched via U.S. mail on

November 3, 2020. This notice contains MARS RECOVERY’s TDLR License Number, contact

information about where the vehicle is stored and how to telephone, the earliest impound date of

tow (October 16, 2020), and all manner of statutory disclosures about relative rights of the parties,

including the rates at which the storage charges were accruing.

    U.S. BANK’s critique of MARS RECOVERY’s efforts to provide statutory notices to U.S.

BANK concludes in every instance that since MARS RECOVERY missed one piece of information

in a required notice, the Court is “free to disregard” MARS RECOVERY’s efforts to comply with

the statute. This position is similar to U.S. BANK’s actions throughout the pendency of this matter

prior to suit, since U.S. BANK categorically disregarded all of the notices sent by MARS

RECOVERY, taking no action to recover their vehicle until the day before it was sold, weeks after

U.S. BANK first learned that MARS RECOVERY had possession of the vehicle.

(E) U.S. BANK focuses on the actions of MARS RECOVERY and SAENZ, but provides no

evidence of any meaningful, affirmative action taken by U.S. BANK to recover the R.V.,

essentially until removal of the case at bar to federal court.

    In the F.R.C.P. 56 motion for summary judgment, and its previously filed 12(b)(6) Motion to

Dismiss and Motion to Strike Affirmative Defenses, U.S. BANK points out all of the so-called

deficiencies in the actions taken by MARS RECOVERY in providing its notices to U.S. BANK, yet

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U.S. BANK fails to provide any evidence of any affirmative act taken by U.S. BANK to recover its

R.V., until Plaintiff filed its declaratory judgment action in state court, and U.S. BANK removed the

matter to federal court. The evidence of the multitude of actions taken by Plaintiff to notify U.S.

BANK that the R.V. was in the possession of MARS RECOVERY, where the R.V. was being

stored (at pecuniary cost to MARS RECOVERY by the way), as well as the required notices to the

College Station Police Department, the Montgomery County Sheriff’s Department, and finally, the

Texas Department of Motor Vehicles, show a pattern of affirmative acts taken by MARS

RECOVERY to comply with Texas law to advise U.S. BANK, and necessary third parties, as to

what was going on with the R.V. in question. Moreover, the lack of affirmative acts taken by U.S.

BANK to recover the R.V. display an organizational apathy and bureaucratic neglect which is

worthy of disdain and healthy skepticism about U.S. BANK’s claims.

    Under the TEXAS VEHICLE STORAGE FACILITY ACT, Texas law requires complex steps for a

licensed facility, such as MARS RECOVERY, to comply. The obvious reasons for these complex

steps is to afford the owner of a vehicle multiple opportunities to be able to recover the towed

and/or stored vehicle, and to compensate the licensed facility for those expenses incurred for towing

and storage of the vehicle in question. In the case at bar, U.S. BANK made no efforts whatsoever to

avail itself of these laws, ignoring multiple opportunities to protect/assert their lien interests in the

vehicle and to recover it. It is inequitable for U.S. BANK to now affirmatively use the provisions of

such laws to indict, criticize and complain about MARS RECOVERY’s actions, when U.S. BANK

did nothing to avail itself of the protections of such laws.

    For U.S. BANK to wait, (despite multiple documented notices dispatched by MARS

RECOVERY and delivered to U.S. BANK) to contest MARS RECOVERY’s claim that the R.V.

was abandoned and was legally sold by MARS RECOVERY to WALTER SAENZ is disingenuous,

and is the embodiment of MARS RECOVERY’s affirmative defense of laches and equitable

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estoppel. U.S. BANK’s delay in responding to these notices constitutes a delay to the detriment of

MARS RECOVERY. Further, though MARS RECOVERY has admitted minor omissions in its

efforts to comply with the specifics of Texas law, nevertheless U.S. BANK should be prevented

from complaining to any third party about MARS RECOVERY and Mr. SAENZ’s efforts to

comply with Texas law regulating the towing and storage of motor vehicles in Texas, when it is clear

that U.S. BANK is the true party at fault here, and is to blame for creating the very situation about

which they now complain. But for U.S. BANK’s inattention and negligence in responding to MARS

RECOVERY s efforts, the R.V. would be back in the possession of U.S. BANK and MARS

RECOVERY would have been paid its modest storage charges, which MARS RECOVERY was

absolutely entitled to under Texas vehicle storage laws.


                                          II. CONCLUSION

    In its F.R.C.P. 56 motion for summary judgment, U.S. BANK asks this Court to adjudicate the

rights between the parties under the Federal Declaratory Judgment Act, 28 U.S.C. § 2201, and order

the return of the subject vehicle held for more than a year by MARS RECOVERY and later,

WALTER SAENZ, while summarily discounting and dismissing the related affirmative defenses

raised by WCS LEASING, L.L.C., d/b/a MARS RECOVERY, and WALTER SAENZ. To dismiss

these claims and defenses would be improper and inequitable, particularly given the lengths that

WCS LEASING, L.L.C., d/b/a MARS RECOVERY, and WALTER SAENZ went to disclose and

apprise U.S. BANK as to the condition, the whereabouts and the charges accruing for their

impounding and storage of the subject R.V.

    WCS LEASING, L.L.C., d/b/a MARS RECOVERY, and WALTER SAENZ implore the

Court to consider the efforts made by these parties, particularly relative to the disregard exercised by

U.S. BANK, to deny the Motion to Dismiss filed by U.S. BANK, and for all such other relief to


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which WCS LEASING, L.L.C., d/b/a MARS RECOVERY, and WALTER SAENZ may show

themselves justly entitled, at law or in question, to which they are justly entitled.

                                                     THE BARCLAY LAW FIRM


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                                                     WCS LEASING, L.L.C. d/b/a
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                                        CERTIFICATE OF SERVICE

    The undersigned hereby certifies that a true and correct copy of the foregoing document was
served on October 6, 2021, on counsel for all parties of record via CM/ECF pursuant to the
FEDERAL RULES OF CIVIL PROCEDURE.


                                                 By: ___________________________________
                                                     Byron K. Barclay




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